                        Case 6:20-cv-00961-ADA Document 8 Filed 02/05/21 Page 1 of 1
AO 120 (Rev. 08/10)
                             Mail Stop 8                                                         REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                                FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                                 ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                      TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court            Western District of TexaS - Waco District                         on the following
         Trademarks or         0 Patents. (         the patent action involves 35 U.S.C. § 292.):
DOCKET NO.                           DATE FILED                     U.S. DISTRICT COURT
     6:20-cv-0961                          10/15/2020               _____ _____ Western District of Texas - Waco District
PLAINTIFF                                                                   DEFENDANT
 RFID Technology Innovations, LLC                                              Touma, Incorporated d/b/a ASAP Systems



        PATENT OR                        DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                      OR TRADEMARK
1 U.S. 9,582,689                             2/28/2017                 RFID Technology Innovations, LLC

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                                 In the above-    jntitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                        INCLUDED BY
                                                       Amendment                     Answer             Cross Bill            Other Pleading
        PATENT OR                        DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                      OR TRADEMARK
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                      In the abov<    -entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT


Pursuant to Notice of Voluntary Dismissal by RFID Technology Innovations, LLC



                                                                                                                             DATE
                                                                                                                               2/5/2021


Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
